     Case 2:19-cr-00060-WBV-KWR Document 408 Filed 06/24/22 Page 1 of 10




                         UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                      CRIMINAL ACTION

VERSUS                                                        NO. 19-60-WBV-KWR

IMAD FAIEZ HAMDAN, ET AL.                                     SECTION: D (4)

                                  ORDER AND REASONS

         Before the Court is a Motion to Dismiss or Strike Defective Allegations in

Counts 73 and 74 Concerning Undocumented Workers, filed by defendant, Imad

Faiez Hamdan.1 The United States of America opposes the Motion,2 and Hamdan

has filed a Reply.3 After careful consideration of the parties’ memoranda and the

applicable law, the Motion is DENIED.

    I.      FACTUAL AND PROCEDURAL BACKGROUND4

         The defendants in this case, Imad Faiez Hamdan (“Hamdan”) and Ziad Odeh

Mousa (“Mousa”) (collectively, “Defendants”), owned and operated more than 30 food

stores, convenience stores, and gas stations that operated under the name “Brothers

Food Mart” in the State of Louisiana.5 On October 10, 2019, the Government filed a

74-Count Superseding Indictment against Defendants.6 Pertinent to the instant



1 R. Doc. 291.
2 R. Doc. 305.
3 R. Doc. 340.
4 In the interest of judicial economy, and because the factual background of this case has been

extensively detailed in numerous prior orders, the Court will limit its recitation of the factual and
procedural background to matters relevant to the instant Motion. See, R. Docs. 221, 222, 224, 229,
232, 233, 236, & 369.
5 R. Doc. 47 at ¶ 2.
6 R. Doc. 47.
     Case 2:19-cr-00060-WBV-KWR Document 408 Filed 06/24/22 Page 2 of 10




Motion, Hamdan is charged in Counts 73 and 74 with mail fraud, in violation of 18

U.S.C. § 1341.7 The Government alleges that Hamdan devised a scheme to defraud

two workers’ compensation insurance companies by mailing them false monthly

payroll reports for Brothers Food Mart, which failed to include the total wages paid

to undocumented workers and store managers, as it excluded cash payments made to

those workers that were recorded outside of the Brothers Food Mart regular payroll

system.8 The Government also alleges that Hamdan submitted false documents to

the insurance companies in response to annual audits of Brothers Food Mart’s

workers’ compensation insurance, which included false IRS Forms 941, false IRS

Forms 940, and false payroll summaries that failed to report total wages paid to

undocumented workers and store managers.9

       Hamdan filed the instant Motion on February 3, 2021, seeking to dismiss or

strike the allegations regarding undocumented workers in Counts 73 and 74 of the

Superseding Indictment as defective under Fed. R. Crim. P. 12.10 Hamdan contends

that he cannot be convicted for making an allegedly false statement “which may be

said to be accurate within a reasonable construction of the contract.” 11 Hamdan

asserts that, under a reasonable interpretation of the applicable workers’

compensation insurance policies, undocumented workers were not covered. 12



7 Id. at ¶¶ 58-69.
8 Id. at ¶¶ 58, 63-65.
9 Id. at ¶ 66.
10 R. Doc. 291.
11 R. Doc. 291-1 at p. 6 (quoting United States v. Race, 632 F.2d 1114, 1120 (4th Cir. 1980)) (internal

quotation marks omitted); R. Doc. 291-1 at p. 6 (citing United States v. Jones, 664 F.3d 966, 977 (5th
Cir. 2011)).
12 R. Doc. 291 at p. 1; R. Doc. 291-1 at pp. 2, 5, 8-9.
     Case 2:19-cr-00060-WBV-KWR Document 408 Filed 06/24/22 Page 3 of 10




Because undocumented workers were not covered by the policies, Hamdan argues

there was nothing false, as a matter of law, about the payroll reports that excluded

their wages.13 Thus, Hamdan asserts that Counts 73 and 74 fail to allege a false

representation regarding the undocumented workers, as required under 18 U.S.C. §

1341.14 Although Hamdan previously filed a motion to dismiss Counts 73 and 74

based on language in the workers’ compensation insurance policies, which the Court

denied, Hamdan asserts the instant Motion is based upon different policy language

and raises different legal issues.15          Hamdan further asserts that the Court can

consider the insurance contracts in connection with this Motion because Fed. R. Crim.

P. 12(b)(1) allows a party to raise by pretrial motion any defense that the court can

determine without a trial on the merits.16 Hamdan asserts that the allegations

regarding undocumented workers in Counts 73 and 74 should be dismissed and/or

stricken as legally deficient under Rule 12.17

       The Government asserts that the Motion should be denied because the Court

has already rejected essentially the same argument when it denied Hamdan’s first

motion to dismiss Counts 73 and 74, and because the Court has already concluded

that the mail fraud counts state an offense.18 The Government claims that Hamdan

fails to explain why this law of the case should be disregarded. 19 The Government



13 R. Doc. 291 at p. 1; R. Doc. 291-1 at pp. 3 & 10.
14 R. Doc. 291-1 at p. 5.
15 Id. at pp. 3 & 11-12 (citing R. Docs. 85-1 & 229).
16 R. Doc. 291-1 at p. 8, n.5.
17 Id. at p. 12.
18 R. Doc. 305 at pp. 11-12 (citing R. Docs. 85-1 at p.2; United States v. Hamdan, Crim. A. No. 19-60-

WBV-KWR, 2020 WL 3429831, at *5 (E.D. La. June 23, 2020) (Vitter, J.)).
19 R. Doc. 305 at p. 12.
     Case 2:19-cr-00060-WBV-KWR Document 408 Filed 06/24/22 Page 4 of 10




further asserts that the falsity of Hamdan’s statement is an issue for trial, not a

motion to dismiss, pointing out that the insurance policies are not part of the

Superseding Indictment and, as such, should not be considered on a motion to

dismiss.20 The Government asserts that none of the courts in the cases cited by

Hamdan resolved questions about contract ambiguity or falsity of statements on a

motion to dismiss,21 and that one of the cases denied a motion to dismiss on the

ground that determining contractual ambiguity requires the consideration of

extrinsic evidence, which should not be undertaken on a motion to dismiss an

indictment.22 Finally, the Government asserts that even if the Court considers the

insurance policies at issue, Hamdan’s arguments would fail on the merits because the

Superseding Indictment alleges that Hamdan defrauded the insurance companies to

obtain lower insurance premiums, which are based upon “payroll and all other

remuneration paid . . . for the services of all . . . officers and employees engaged in

work covered by this policy.”23 The Government argues that the insurance policies

do not allow Hamdan to report less than all his true payroll. Thus, the Government

asserts the Motion should be denied.

       In response, Hamdan reiterates the same arguments asserted in his original

Motion.24




20 Id. (citing R. Doc. 291-1 at p. 7, n.5).
21 R. Doc. 305 at p. 12 (citing R. Doc. 291-1 at pp. 5-7).
22 R. Doc. 305 at p. 13 (quoting United States v. Bryant, 556 F. Supp. 2d 378, 457-58 (D.N.J. 2008))

(internal quotation marks omitted).
23 R. Doc. 305 at p. 13 (quoting R. Doc. 291-2 at p. 24) (emphasis added by Government).
24 R. Doc. 340.
      Case 2:19-cr-00060-WBV-KWR Document 408 Filed 06/24/22 Page 5 of 10




     II.      APPLICABLE LAW

           Rule 12(b) of the Federal Rules of Criminal Procedure permits a defendant to

raise by a pretrial motion, “Any defense, objection, or request that the court can

determine without a trial on the merits.”25 In the instant Motion, Hamdan seeks to

dismiss or strike the allegations regarding undocumented workers in Counts 73 and

74 of the Superseding Indictment “pursuant to Rule 12 of the Federal Rules of

Criminal Procedure.”26        In a footnote, Hamdan clarifies that the Superseding

Indictment is defective because it fails to state an offense.27 Thus, Hamdan appears

to argue that the allegations regarding undocumented workers in Counts 73 and 74

should be dismissed or stricken for failure to state an offense under Fed. R. Crim. P.

12(b)(3)(B)(v).

           Federal Rule of Criminal Procedure 7(c) requires an indictment to contain “a

plain, concise and definite written statement of the essential facts constituting the

offense charged,” and to state for each count, “the official or customary citation of the

statute, rule, regulation or other provision of law which the defendant is alleged to

have violated.”28 As explained by the Fifth Circuit, “Under the Sixth Amendment, an

indictment must ‘(1) enumerate each prima facie element of the charged offense; (2)

inform the defendant of the charges filed against him; and (3) provide the defendant

with a double jeopardy defense against future prosecutions.’”29 According to the Fifth



25 Fed. R. Crim. P. 12(b)(1).
26 R. Doc. 291 at p. 1.
27 R. Doc. 291-1 at p. 4, n.3.
28 Fed. R. Crim. P. 7(c)(1).
29 United States v. Guzman-Ocampo, 236 F.3d 233, 236 (5th Cir. 2000) (quoting United States v.

Gaytan, 74 F.3d 545, 551 (5th Cir. 1996)).
     Case 2:19-cr-00060-WBV-KWR Document 408 Filed 06/24/22 Page 6 of 10




Circuit, “[A]n indictment is sufficient if it ‘contains the elements of the offense

charged and fairly informs the defendant of the charge against which he must

defend.’”30 “It is not necessary for an indictment to go further and to allege in detail

the factual proof that will be relied upon to support the charges.”31 “Generally, an

indictment which follows the language of the statute under which it is brought is

sufficient to give a defendant notice of the crime of which he is charged.”32

       When considering a motion to dismiss the indictment for failure to state an

offense, a court is required to “take the allegations of the indictment as true and to

determine whether an offense has been stated.”33 Additionally, “A court must deny a

motion to dismiss if the motion relies on disputed facts.”34 According to the Fifth

Circuit, “The propriety of granting a motion to dismiss an indictment . . . by pretrial

motion is by-and-large contingent upon whether the infirmity in the prosecution is

essentially one of law or involves determinations of fact . . . . If a question of law is

involved, then consideration of the motion is generally proper.”35




30 United States v. Lawrence, 727 F.3d 386, 397 (5th Cir. 2013) (quoting Unites States v. Fuller, 974
F.2d 1474, 1480 (5th Cir. 1992)).
31 United States v. Crippen, 579 F.2d 340, 342 (5th Cir. 1978) (citations omitted).
32 United States v. Thomas, 348 F.3d 78, 82 (5th Cir. 2003) (internal quotation marks and citations

omitted); See United States v. Massey, 849 F.3d 262, 264 (5th Cir. 2017) (same).
33 United States v. USPlabs, LLC, 338 F. Supp. 3d 547, 557 (N.D. Tex. 2018) (quoting United States v.

Kay, 359 F.3d 738, 742 (5th Cir. 2004)) (internal quotation marks omitted).
34 USPlabs, LLC, 338 F. Supp. 3d at 557; See United States v. Covington, 395 U.S. 57, 60, 89 S.Ct.

1559, 23 L.Ed.2d 94 (1969) (holding that a court can resolve a pretrial motion to dismiss the indictment
only when “trial of the facts surrounding the commission of the alleged offense would be of no
assistance in determining the validity of the defense”).
35 United States v. Fontenot, 665 F.3d 640, 644 (5th Cir. 2011).
      Case 2:19-cr-00060-WBV-KWR Document 408 Filed 06/24/22 Page 7 of 10




     III.   ANALYSIS

        Hamdan is charged in Counts 73 and 74 of the Superseding Indictment with

mail fraud, in violation of 18 U.S.C. § 1341.36 Section 1341 provides, in pertinent

part, that:

               Whoever, having devised or intending to devise any scheme
               or artifice to defraud, or for obtaining money or property by
               means of false or fraudulent pretenses, representations, or
               promises, or to sell, dispose of, loan, exchange, alter, give
               away, distribute, supply, or furnish or procure for unlawful
               use any counterfeit or spurious coin, obligation, security, or
               other article, or anything represented to be or intimated or
               held out to be such counterfeit or spurious article, for the
               purpose of executing such scheme or artifice or attempting
               so to do, places in any post office or authorized depository
               for mail matter, any matter or thing whatever to be sent or
               delivered by the Postal Service, or deposits or causes to be
               deposited any matter or thing whatever to be sent or
               delivered by any private or commercial interstate carrier,
               or takes or receives therefrom, any such matter or thing, or
               knowingly causes to be delivered by mail or such carrier
               according to the direction thereon, or at the place at which
               it is directed to be delivered by the person to whom it is
               addressed, any such matter or thing, shall be fined under
               this title or imprisoned not more than 20 years, or both.37

To establish a violation of 18 U.S.C. § 1341, the Government must allege and prove

the following four elements: (1) that the defendant knowingly devised or intended to

devise a scheme to defraud; (2) that the scheme to defraud employed false material

representations; (3) the use of the mails to execute the scheme; and (4) the specific

intent to defraud.38



36 R. Doc. 47 at ¶¶ 58-74).
37 18 U.S.C. § 1341.
38 United States v. Boyd, 309 F. Supp. 2d 908, 913 (S.D. Tex. 2004) (citing Fifth Circuit Pattern Jury

Instructions: Criminal, 2001 Edition); See United States v. Traxler, 764 F. 3d 486, 488 (5th Cir. 2014)
(citing United States v. Bieganowski, 313 F.3d 264, 275 (5th Cir. 2002)).
     Case 2:19-cr-00060-WBV-KWR Document 408 Filed 06/24/22 Page 8 of 10




       In the instant Motion, Hamdan challenges the sufficiency of Counts 73 and 74

to the extent that they charge him with mail fraud based upon mailing monthly

payroll reports that failed to include wages paid to undocumented workers. Hamdan

argues that those allegations should be dismissed or stricken as legally defective

because the Government cannot establish the second element of the offense – a false

material representation – since the insurance policies exclude coverage for

undocumented workers. The Court rejects that argument as meritless. When a

defendant challenges an indictment on the basis that it fails to state an offense, the

question is not whether the allegations set forth in the indictment are in fact true,

but whether the indictment sufficiently charges an offense.39 The most basic purpose

of an indictment is to fairly inform the defendant of the charges against him and to

enable the defendant to plead acquittal or conviction in bar of future prosecutions for

the same offense.40       The test for validity of an indictment “is not whether the

indictment could have been framed in a more satisfactory manner, but whether it

conforms to minimal constitutional standards.”41 As the Government correctly points

out, the Court has already determined that Counts 73 and 74 of the Superseding

Indictment sufficiently state an offense for mail fraud under 18 U.S.C. § 1341 because




39 United States v. Reece, Crim. A. No. 6:12-CR-00146-01, 06, 07, 08, 09, 10, 2013 WL 11299439, at *4
(W.D. La. May 10, 2013) (Hanna, M.J.) (citing United States v. Hogue, 132 F.3d 1087, 1089 (5th Cir.
1998)).
40 United States v. Gordon, 780 F.2d 1165, 1169 (5th Cir. 1986) (citing authority).
41 Id. (citing United States v. Webb, 747 F.2d 278, 284 (5th Cir. 1984)).
     Case 2:19-cr-00060-WBV-KWR Document 408 Filed 06/24/22 Page 9 of 10




they set forth all four essential elements of the offense.42 Hamdan offers no legal

authority or explanation for why this law of the case should be disregarded.

       The Court further finds that Hamdan’s arguments in the instant Motion,

which concern the truth or falsity of the monthly payroll reports under his alleged

“reasonable interpretation” of the workers’ compensation insurance policies, go

beyond the face of the Superseding Indictment and raise questions of fact that cannot

be resolved on a motion to dismiss. While the Court can resolve a question of law

that depends entirely on undisputed facts, even if those facts go beyond the face of

the indictment, the Court cannot invade the province of the jury by deciding disputed

facts to resolve a rule 12 motion to dismiss.43 In fact, “A court must deny a motion to

dismiss if the motion relies on disputed facts.”44 Such is the case here. Hamdan is

not asking the Court to resolve a question of law based upon undisputed facts.

Instead, Hamdan is asking the Court to determine whether the Government has met

its burden of “proving beyond a reasonable doubt that the defendant’s statement is

false under any reasonable interpretation of the relevant contract.”45                            That

determination—a factual determination—is properly made by the jury. Additionally,

“an indictment cannot be dismissed under Rule 12 by virtue of a ‘sufficiency-of-the-




42 R. Doc. 229 at pp. 12-16.
43 United States v. Nides, Crim. A. No. 14-40, 2014 WL 2894281, at *1 (E.D. La. June 26, 2014)
(Morgan, J.) (citing United States v. Flores, 404 F.3d 320, 324-25 (5th Cir. 2006), abrogated on other
grounds as recognized by United States v. Garcia, 707 Fed.Appx. 231 (5th Cir. 2017)); See, United
States v. Kaluza, Crim. A. No. 12-265, 2013 WL 6490341, at *2 (E.D. La. Dec. 10, 2013) (citing Flores,
404 F.3d at 324, n.6, 325).
44 United States v. USPlabs, LLC, 338 F. Supp. 3d 547, 557 (N.D. Tex. 2018) (citing authority).
45 R. Doc. 305 at p. 3 (citing United States v. Race, 632 F.2d 1114, 1120 (4th Cir. 1980); United States

v. Jones, 664 F.3d 966, 977 (5th Cir. 2011)).
     Case 2:19-cr-00060-WBV-KWR Document 408 Filed 06/24/22 Page 10 of 10




evidence’ defense that raises factual questions ‘embraced in the general issue.’”46

Thus, to the extent Hamdan is arguing that the Government lacks sufficient evidence

to support the mail fraud offenses with respect to the allegations regarding

undocumented workers, that is not a basis for dismissing or striking the allegations

under Rule 12.

           Based on the foregoing analysis, the Court finds that Hamdan’s Motion must

be denied.

     IV.      CONCLUSION

           For the reasons set forth above, IT IS HEREBY ORDERED that the Motion

to Dismiss or Strike Defective Allegations in Counts 73 and 74 Concerning

Undocumented Workers 47 is DENIED.

           New Orleans, Louisiana, June 24, 2022.



                                             ______________________________
                                             WENDY B. VITTER
                                             United States District Judge




46 USPlabs, LLC, 338 F. Supp. 3d at 583 (quoting United States v. Mann, 517 F.2d 259, 267 (5th Cir.
1975)).
47 R. Doc. 291.
